                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

                            UNITED STATES OF AMERICA
                                                                                                    DEFENDANT'S
                                         vs.                                                        JURY CHARGE
                                                                                                    REQUESTS
                            COLIN MONTAGUE,                                                         Case No.14-CR-6136
                                                               Defendant.

                            The Defendant, Colin Montague, by and through his attorney, Maurice J. Verrillo, Esq.,

                            for his requests for charge to the jury makes the following charge requests that:

                            1.    This Court utilize the standard jury instructions set forth in the Hon. Leonard Sand's

                                  Modern Federal Jury Instructions Criminal except as modified herein.

                            2.    The defendant generally objects to the proposed charges of the government to the

                                  extent that they are inconsistent with the standard jury instructions in Sand's.

                                  Moreover, the defendant objects to the hypothetical fact summaries or marshaling of

                                  allegations which is replete in the government's charge. The attempts to marshal

                                  evidence through the Court's jury charge is objected to as highly prejudicial, unfair,

                                  and violative of the defendant's right to a fair trial under the Sixth Amendment of the

                                  United States Constitution and applicable case law.

                            3.    The requests for General Instructions are as follows:

                                      1-1         Instructions at the Beginning of Trial
LAW OFFICES OF                        2-1         Juror Attentiveness
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                                      2-2         Role of the Court
                                      2-3         Role of the Jury
                                      2-4         Juror Obligations
                                      2-5         The Government as a Party
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Suite 301
                                      2-8         Conduct of Counsel
Rochester, New York 14618             2-9         Reprimand of Counsel during Trial
                                      2-10        Counsel Cooperation
(585) 232-2640
                                      2-11        Improper Considerations
                                      2-12        Sympathy
                                      2-14        Publicity-Preliminary Statement
                                      2-15        Publicity-Reminder
                                      2-17        Publicity-final charge
                            2-18    Jury to Consider only this Defendant
                            2-19    Disregard disposition of Co-Defendant's case
                            2-20    Disregard unproven allegations
                            2-21    Contact with Others
                            3-1     Indictment is not evidence
                            3-2     The Charges
                            3-3     Separate Defendants
                            3-5     Consider each Defendant separately
                            3-8     Multiple Counts-Multiple Defendants
                            3-9     The Statute
                            3-10    Elements of the Crime
                            3-11    Variance

                            3A-1    Knowingly
                            3A-3    Willingly
                            3A-4    Intentionally
                            4-1     Presumption of Innocence and Burden of Proof
                            4-2     Reasonable Doubt
                            4-3     Number of Witnesses and Uncontradicted Testimony
                            5-2     Direct and Circumstantial Evidence.
                            5-3     Questions
                            5-4     Testimony, Exhibits, Stipulations and Judicial Notice
                            5-9     Transcripts of Tape Recordings
                            5-14    Defendant's reputation
                            5-15    Opinion of Defendant's Character
                            5-16    Cross-Examination of Witnesses of Defendant's Character
                            5-17    Impeachment of Reputation Testimony
                            5-18    Opinion as to Character of Witness
                            5-20    Admission of Co-Conspirator Statements-

                            6-1     Inference defined.
                            6-3     Impermissible to Infer Participation from Mere Presence
                            6-4     Impermissible to Infer Participation from Association
                            6-5     Missing Witness Not Equally Available to the Defendant
LAW OFFICES OF              7-1     Witness Credibility-General
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                            7-2     Bias and Hostility
                            7-3     Interest in Outcome
                            7-4     Defendant's Interest if Defendant Testifies
                            7-5     Accomplices called by the Government
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                            7-6     Accomplices called by the Defendant
Rochester, New York 14618   7-7     Unindicted Co-Conspirator as Government Witness
                            7-8     Statutory Immunity of Government Witness
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                            7-9     Informal Immunity of Government Witness
                            7-9.1   Witness Using or Addicted to Drugs
                            7-10    Government Witness-Not Proper to Consider Guilty Plea
                            7-11    Co-Conspirator's Plea Agreement

                                                               -2-
                            7-12       Impeachment by Felony Conviction-Non Defendant
                            7-13       Impeachment of Defendant-Previous Felony Charge
                            7-14       Government Informers
                            7-16       Law Enforcement Witnesses
                            7-17       Trial Perjury
                            7-18       Prior Perjury
                            7-19       Impeachment by Prior Inconsistent Statement
                            7-20       Identification Testimony7-21Expert Witness
                            7-22       Voice Experts
                            8-2        Alibi
                            9-3        Right to See Exhibits and Hear Testimony; Communications with Court
                            9-5        Selection of a Foreperson
                            9-7        Duty to Consult and Need for Unanimity
                            9-7.1      Unanimity of Theory
                            9-9        Special Verdict
                            9-10       Lesser Included Offense-Conspiracy Weight
                            SUBSTANTIVE OFFENSES
                            Money
                            Laundering
                            50A-6      Statute
                            50A-7      Elements
                            50 A-8     Financial Transaction involving illegal proceeds
                            50 A-9     Knowledge-proceeds
                            50 A-10    Knowledge-concealment
                            Drug
                            Conspiracy
                            56.01      Statute
                            56-2       Elements
                            56-3       Possession
                            56-4       Definition-Possession
                            56-5       Inference-control
                            56-6       Knowledge of narcotic
                            56-7       Method of proving knowledge
                            56-9       Distribution or intent to distribute
LAW OFFICES OF              56-11      Intent to Distribute
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                            56-13        Outrageous Government Conduct
                            CCE Charge
                            56.04
3300 Monroe Avenue          56-25        Statute
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                            56-26        Elements of offense
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                            56-27        Federal narcotics law
(585) 232-2640              56-28        Continuing series of violations
                            56-29        Five or more person

                            56-30        Organizer, supervisor, manager


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                                      56-31        Substantial income or resources



                            The defendant has specific objections to the Pinkerton charge in Request #18 of the

                            government’s request for charge. The defendant requests that no Pinkerton charge be

                            given.

                            The Pinkerton charge should not be given automatically or as a matter of course. U.S. v.

                            Salameh, 152 F.3d 88 (2d Cir. 1998). The alleged events as proffered by the government

                            raise a substantial risk of prejudice to the defendant namely to raise so many alleged criminal

                            events, many of which having no relationship to the defendant, so as to infer the existence of

                            a conspiracy, based on different and disparate criminal activities. U.S. v. Escobar, 462 Fed.

                            Appx. 58 (2d Cir. 2012).



                            The Defendant Colin Montague further requests instruction as to the use of so called

                            Co-Conspirator Testimony. The requested charge is as follows:



                            The government has called as witnesses people who are named as co-conspirators in this

                            case, or where not charged as defendants.



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                            For this reason, you should exercise caution in evaluating their testimony and scrutinize it
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                            with great care. You should consider whether they have an interest in the case and whether

                            they have a motive to testify falsely. In other words, ask yourselves whether they have a
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(585) 232-2640              if you believe it to be true and it is up to you, the jury , to decide what weight, if any , to

                            give to the testimony of these alleged co-conspirators.


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                            See L Sand, et al., Modern Federal Jury Instructions, No. 7-7.



                            The Defendant further requests a limiting instruction as to alleged prior bad acts of the

                            Defendant, preceding the date of the alleged conspiracy.



                            A special interrogatory is requested for the unanimous determination by the jury as to the

                            three predicate acts forming the basis for the Continuing Criminal Enterprise count

                            and a limiting instruction as to what predicate acts may be considered, as alleged in the

                            Indictment.U.S. v. Taher, 663 Fed. Appx. 23 (2d Cir. 2016)



                            A failure to call witness instruction is also sought. The suggested language is as follows:

                            “If it is peculiarly within the power of either the prosecution or the defense to produce a

                            witness who could give material testimony on an issue in this case, failure to call that

                            witness may give rise to an inference that his testimony would be unfavorable to that

                            party, however no such conclusion shall be drawn by you with regard to a witness who is

                            equally available to both parties, or where the witness’s testimony would be merely

                            cumulative.
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                            The jury will always bear in mind that the law never imposes on a defendant in a criminal

                            case the burden or duty of calling any witness or producing any evidence”. United States v.
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                            Caccia, 122 F.3d 136, 139.
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                                  The Defendant, Colin Montague reserves the right to supplement, modify, or amend

                            his requests for charge prior to the submission of the charge to the jury.




                            Dated: May 31, 2018                      Yours etc.,

                                                                     /s/ Maurice Verrillo

                                                                     Maurice J. Verrillo, Esq.
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